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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v.                                         Crim. Action No. 21-24-1 (EGS)

ROBERT GIESWEIN,

                    Defendant.



     UNOPPOSED MOTION TO SUPPLEMENT MOTION AND DEFER
     ARGUMENT REGARDING MOTION FOR TRANSFER OF VENUE
      Robert Gieswein, through undersigned counsel, hereby respectfully requests

that the Court grant him leave to supplement his motion for transfer of venue with

survey data and other analytics, and that the Court defer argument and ruling on

the motion until each party has an opportunity to consider and brief the Court

regarding the new information.

      Mr. Gieswein has filed a motion for transfer of venue. ECF No. 64. The

government filed a response, ECF No. 72, and Mr. Gieswein filed a reply. ECF No.

87. Argument on the motion is scheduled to take place tomorrow, December 19.

      In the course of preparing the motion, undersigned counsel obtained the

services of a firm to conduct a survey of a sample of District of Columbia residents

and residents of another federal district, and to analyze media surrounding this case

and related cases. Unfortunately, the results of that effort were not available before

yesterday, January 17.
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      The data will assist the Court in weighing the parties’ arguments. Further,

deferring argument and ruling on the motion until both the data, and the parties’

analyses thereof, are before the Court will conserve judicial resources.

      Undersigned counsel has conferred with counsel for the government, and is

authorized to state that the government does not object to the relief requested in this

motion. The defense anticipates that it will be prepared to present the Court with the

new information, and the defense position on the same, by January 24. The

government anticipates that it will be able to respond by January 31. The defense

anticipates that it could file any reply by February 4. The defense respectfully

suggests that the Court and the parties consider a date for argument at tomorrow’s

hearing.

      Respectfully submitted on January 18, 2022.

                                              ROBERT GIESWEIN
                                              by counsel:

                                              Geremy C. Kamens
                                              Federal Public Defender for the
                                              Eastern District of Virginia

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